Case 4:22-cv-00302-RH-MAF Document 114-1 Filed 11/21/22 Page 1 of 7




                   Exhibit 1
        Case 4:22-cv-00302-RH-MAF Document 114-1 Filed 11/21/22 Page 2 of 7
                                      Larry Keefe
                                   November 04, 2022

· · · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · · · NORTHERN DISTRICT OF FLORIDA
· · · · · · · · · · · TALLAHASSEE DIVISION

· · · · · · · · · · · · · · · · CASE NO. 4:22-cv-302-RH-MAF

·
·   · ANDREW H. WARREN,
·
·   · · ·Plaintiff,
·
·   · vs.
·
·   ·   RON DESANTIS, individually
·   ·   and in his official capacity
·   ·   as Governor of the State
·   ·   of Florida,

· · · ·Defendant.

· · · · · · · · · · · · · · · · · · · · ·/

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·   · · · · · · · · VIDEO-RECORDED DEPOSITION OF
·   · · · · · · · · · · · · ·LARRY KEEFE
·   · · · · · · · · · · · ·{Pages 1 - 207}
·
·   ·   ·   ·   ·   ·   ·   ·   ·   · Friday, November 4, 2022
·   ·   ·   ·   ·   ·   ·   ·   ·   · · 9:54 a.m. - 2:36 p.m.
·   ·   ·   ·   ·   ·   ·   ·   ·   · · ·GRAY ROBINSON, P.A.
·   ·   ·   ·   ·   ·   ·   ·   ·   ·301 South Bronough Street
·   ·   ·   ·   ·   ·   ·   ·   ·   · · · · · ·Suite 600
·   ·   ·   ·   ·   ·   ·   ·   ·   Tallahassee, Florida 32301-1724

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· · · · · · · · · Stenographically Reported By:
· · · · · · ·Deanne M. Moore, RMR, CRR, FPR, FPR-C


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    Case 4:22-cv-00302-RH-MAF Document 114-1 Filed 11/21/22 Page 3 of 7
                                  Larry Keefe
                               November 04, 2022

·1· · · A· · I don't remember.· I mean --

·2· · · Q· · Okay.

·3· · · A· · -- there could be.· I just don't remember.

·4· That was a long period of time.

·5· · · Q· · I'll put it another way.· You recall, though --

·6· do you recall reviewing written documents related to

·7· Mr. Warren?

·8· · · A· · Yes.

·9· · · Q· · Do you recall reviewing any written records

10· related to any other state attorney?

11· · · A· · I may have.· I very well may have.· I just

12· don't recollect.

13· · · Q· · So as you sit here today, you don't recall

14· anything other than what was related to Mr. Warren?

15· · · A· · I would need some time to sit and think about

16· it, and maybe I would remember something.· But as I sit

17· here right at this moment, it's -- it very likely could

18· have occurred, that there could have been documents

19· related to other state attorneys that I saw, but I don't

20· have any specific recollection of it as I sit here.

21· · · Q· · Okay.· Sir, when did the -- on what date did

22· the Governor make the decision to suspend Mr. Warren?

23· · · A· · You mean, you know, the mental cognitive

24· decision as opposed to executing the executive order?

25· · · Q· · Yes.


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    Case 4:22-cv-00302-RH-MAF Document 114-1 Filed 11/21/22 Page 4 of 7
                                  Larry Keefe
                               November 04, 2022

·1· · · A· · I don't know.

·2· · · Q· · You don't know what time of day he made that

·3· decision?

·4· · · A· · I don't.

·5· · · Q· · You don't know who was present, if anyone, when

·6· he made that decision?

·7· · · A· · I don't.

·8· · · Q· · Who would know?

·9· · · A· · Well, I know that the Governor works very

10· closely with the chief of staff, James Uthmeier, with

11· Ryan Newman, in the general counsel's office.· I know

12· that the Governor spends a significant time with the

13· general counsel and any number of -- of his colleagues.

14· · · · · ·But I -- I'm not directly in that loop, but I

15· know that the Governor is very collaborative.· I know

16· that he has that senior leadership group that he is very

17· communicative with, meets very often with.· Sometimes I

18· am in those meetings.· Sometimes I'm in just parts of

19· those meetings, and many times I'm not -- I am not in

20· those meetings.

21· · · · · ·So -- but I do know that that is a -- a core

22· group that's very collaborative.

23· · · Q· · Okay.· But you don't -- you don't yourself know

24· the date on which the Governor made his decision?

25· · · A· · No, I do not know the moment that all of those


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    Case 4:22-cv-00302-RH-MAF Document 114-1 Filed 11/21/22 Page 5 of 7
                                  Larry Keefe
                               November 04, 2022

·1· synapsis in the Governor's mind aligned where he formed

·2· a decision.· To me that would be, you know, something

·3· that I would not have any personal knowledge of it.

·4· · · Q· · Fair.· Okay.· Are you aware of the Governor's

·5· office either, you know, led by you or led by any of

·6· your colleagues doing any other statewide reviews of law

·7· enforcement officers in the State of Florida?

·8· · · A· · Well, the project in which I'm involved on my

·9· look into state attorneys not enforcing the law, I know

10· that the -- the general counsel's office has had some

11· involvement in that.

12· · · · · ·I know that the Office of Policy and Budget,

13· which they're the kind of think tank folks that can get

14· into statistics and data and break it down with

15· organizations such as FDLE, I know that they -- they are

16· out there, and they had a role in -- in this type of

17· issue.

18· · · Q· · But you're not aware of any investigation other

19· than the one into state attorneys, correct?

20· · · A· · I don't know that I can say that.· There --

21· there -- your question is whether I have knowledge of an

22· open investigation into state attorneys or any state

23· officer or --

24· · · Q· · Right.· To -- I'm -- my question is:· Are you

25· aware as you sit here today of any other statewide


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    Case 4:22-cv-00302-RH-MAF Document 114-1 Filed 11/21/22 Page 6 of 7
                                  Larry Keefe
                               November 04, 2022

·1· correct?

·2· · · A· · Yes.

·3· · · Q· · Okay.· Why did you add the election security

·4· law letter?

·5· · · A· · You know, I don't know as I sit here.· I think

·6· it was actually given, you know, very little

·7· consideration.· I don't have a specific recollection of

·8· that.

·9· · · Q· · Okay.· But through all of these drafts, from

10· the first draft frankly up until the final signed

11· executive order, the abortion statement was always in

12· there, correct?

13· · · A· · I believe so.

14· · · Q· · Okay.· Turning to just a couple of particular

15· statements in here.· On page 1088, it says, "Whereas

16· Warren can no longer be trusted to fulfill his oath of

17· office."

18· · · · · ·Why did you believe that to be true?

19· · · A· · Because of all the things that I saw and

20· observed and analyzed during the course of my work over

21· a period of months.

22· · · Q· · Did Governor DeSantis ever trust Mr. Warren?

23· · · A· · I -- I -- I have no idea.· I don't know -- I

24· don't know what thoughts lie in the Governor's mind

25· relative to Mr. Warren.


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     Case 4:22-cv-00302-RH-MAF Document 114-1 Filed 11/21/22 Page 7 of 7
                                   Larry Keefe
                                November 04, 2022

·1· · · · · · · · · ·CERTIFICATE OF REPORTER

·2· STATE OF FLORIDA

·3· COUNTY DUVAL

·4· · · · · I, Deanne M. Moore, RMR, CRR, FPR, FPR-C certify

·5· that I was authorized to and did stenographically report

·6· the deposition of LARRY KEEFE, pages 1 through 203; that

·7· a review of the transcript was requested; and that the

·8· transcript is a true record of my stenographic notes.

·9· · · · · I further certify that I am not a relative,

10· employee, attorney, or counsel of any of the parties,

11· nor am I a relative or employee of any of the parties'

12· attorneys or counsel connected with the action, nor am I

13· financially interested in the action.

14· · · · · Dated this 8th day of November, 2022.

15

16

17
· · · · · · · · · · · Deanne M. Moore, RMR, CRR, FPR, FPR-C
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